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Diamond Comics Distributors, Inc                                                                                            Case No. 25-10308
Statement of Operations                                                                                                                Mar-25



                                                                                                                            Consolidated
                                             Diamond Comics           Alliance Games           Collective Grading          Diamond Comic
                                                                                                    Authority              Distributors, Inc



Revenue
  Sales                                  $           8,926,003    $          13,537,100    $               191,938     $           22,655,041
  Freight Income                                       526,309                  250,496                         -                     776,804
Total Revenue                                        9,452,312               13,787,596                    191,938                 23,431,846



Cost of Sales
  Inventory (Buy/Sell)                               3,441,483               10,950,002                         -                  14,391,485
  Inventory (Consignment)                            1,445,959                  930,998                         -                   2,376,956
  Freight Expense                                    1,295,333                  596,062                         -                   1,891,394
Total Cost Of Sales                                  6,182,774               12,477,061                         -                  18,659,835

Gross Profit (Loss)                                  3,269,537                1,310,535                    191,938                   4,772,010

Operating Expense
  Contract Labor                                       488,000                   63,019                         -                      551,019
  Equipment Acquisition                                     -                        -                          -                           -
  Operating Supplies                                     3,846                   83,989                         -                       87,834
  Other Operating Expenses                              15,973                       -                          -                       15,973
  Rent                                                 196,022                  100,770                         -                      296,792
  Repairs And Maintenance                               20,095                   14,071                         -                       34,166
  Payroll                                              641,150                  433,104                         -                    1,074,254
  Taxes And Licenses                                        -                        -                          -                           -
  Utilities                                             20,726                   25,895                         -                       46,621
Total Operating Expenses                             1,385,813                  720,846                         -                    2,106,659

Selling, General, and Administrative
  Advertising                                        48,281.76                23,952.41                         -                   72,234.17
  Computer Expense                                  121,425.79                 8,999.88                         -                  130,425.67
  Insurance                                         355,069.97               230,397.56                  16,405.52                 601,873.05
  Rent                                               60,465.43                 2,000.00                  39,846.17                 102,311.60
  Salaries & Payroll Taxes                          881,922.72               352,226.69                 136,937.60               1,371,087.01
  Taxes And Licenses                                 10,706.00                   341.75                         -                   11,047.75
  Utilities                                          11,456.30                       -                          -                   11,456.30
  Other G&A                                          99,547.79                25,621.82                  33,566.16                 158,735.77
Total Selling, General, and Administrative           1,588,876                  643,540                    226,755                  2,459,171

Other Expenses
  Bank Fees                                             38,912                   85,874                         950                    125,736
  Interest                                             214,619                      -                           -                      214,619
  Professional Fees                                  1,566,219                      -                           -                    1,566,219
Total Other Income / (Expense)                       1,819,750                   85,874                         950                  1,906,574

Net Income (Loss)                                   (1,524,901)                (139,725)                    (35,768)                (1,700,394)
